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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      LUCAS HORTON,                          §
      Plaintiff,                             §
                                             §
      V                                      §               CASE NO. 3:22-CV-2914-C
                                             §
      RESORT VACATIONS, INC                  §
      Defendant.                             §

                          MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

      Pursuant to Rule 15 of the Federal Rules of Civil Procedure, Plaintiff respectfully requests

the Court’s leave to file the attached Amended Complaint. Rule 15(a) permits a party to amend

its pleading within 21 days of receiving a motion under Rule 12(b). Rule 15 also provides that a

party may amend its pleading with the court’s leave and that “the court should freely give leave

when justice so requires.” Allowing the Plaintiff to file the Amended Complaint would serve

justice and promote judicial efficiency as it would expedite the settling of this matter.

Furthermore, there would be no substantial or undue prejudice, bad faith, undue delay, or futility

in granting this leave.

      Through the Amended complaint, the Plaintiff seeks to clarify the facts of the complaint,

fix a date mistake, and address issues identified by the Defendant such as removing one of the

causes of action that does not apply to these types of calls. He is also adding an additional cause

of action that the Defendant is liable for. To better reflect what actually transpired with these

calls and to save future litigation, it is necessary to amend the complaint.

      Plaintiff prays that this motion is accepted for expediency as it would negate the need to file

an additional complaint at a later date that could again wind up in this court.

Dated: 2/13/2023                   Respectfully submitted,
                                                   [1]
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                        Lucas Horton
                        lukeduke365@yahoo.com
                        1202 Stratford Dr
                        Richardson, TX 75080
                        Tel: (214) 909-3341
                        Plaintiff




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